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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



 EPIC GAMES, INC.,



                                                            No. I : l9-cv-02788

                 v.                                         llon. Ronald A. Guzmfn

 THE PARTNERSHIPS AND
 I.ININCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE O'A",




                                    TURNOVER ORDER

This matter coming to be heard upon Plaintiff s Motion for Turnover of Funds held
pursuant to a Citation to Discover Assets, it is hereby ordered that:

I.   Contextlogic, lnc. has satisfred the Notice of Third-Party Citation to Discover Assets;

2. Contextlogic, Inc. is directed to pay to the judgement creditor, EPIC GAMES, [NC.,
the sum of $ 12,196 .32, the amount held by Contextlogic, Inc. pursuatnt to the Citation to
Discover Assets (details of accounts listed in Schedule A hereto); and

3. Deliver said proceeds by wire to Plaintiff s Counsel, at 5l3raBank, 7727 WestLake
Street, River Forest, IL 60305 (1.888.422.6562) to the account of:
KErTH A. VOGT. ESQ.
ABA Routing: 071923909
Swift Code: FTBCUS3C
Deposit to Account: 9999172060
lO-to-z-olq

          Ronald A. Guzm6n
        U.S. District Court Judge
